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IN THE STATE COURT OF BIBB COUNTY
STATE OF GEORGIA

CYNTHIA GIVENS, Civil Action File No.

87698
Plaintiff,
V.

WAL-MART STORES EAST, LP
AND JOHN DOES NOS. 1-10,

Defendants.

/

PLAINTIFF’S RESPONSE TO DEFENDANT’S INTERROGATORIES AND
REQUEST FOR PRODUCTION

Please list the medical expenses, which you contend are the result of the
Wal-Mart incident, in a format similar to the following: [In the event you do not

yet have all of the charges, please provide the name and addresses of all medical
providers].

RESPONSE: Plaintiff provides the following:

MEDICAL DATE AMOUNT
Dr. Hilary Ellwood 08/06/16 $ 434.00
Dr. Jay Cranford 08/08/16-05/07/17 $ 9,053.12
Open MRI of Macon 10/05/16 $ 1,299.00
Piedmont Ortho FUTURE SURGERY — $230,000.00
GA Neurosurgical PENDING PENDING
MCCG PENDING PENDING

TOTAL: PENDING
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Please list all medical, hospital, medicare and medicaid liens related to the
Wal-Mart incident in a format similar to the following:

RESPONSE: Plaintiff is unaware of any liens.

List each part of the body which you contend you injured in the Wal-Mart
incident.
RESPONSE: As a result of the fall at Wal-Mart, plaintiff suffered

ruptured discs in her neck and injuries to her back and shoulders.

Please itemize all lost wages, lost income, or lost capacity to earn which
you contend are the result of the Wal-Mart incident in a format similar to the
following:

RESPONSE: Plaintiff is not currently claiming any lost wages but

expects to be out of work for two weeks to two months during the recovery

period following her impending surgery.

_ Please list every motor vehicle collision in which you have been involved
[as a driver, passenger or pedestrian] in a format similar to the following:
RESPONSE: To the best of plaintiff's recollection, she has only been in

one automobile accident that occurred over twenty-five years ago in Atlanta.
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Plaintiff believes she sought chiropractic treatment for whiplash following the

accident.

Please list every on-the-job injury you have suffered in a format similar to the
following:

RESPONSE: To the best of plaintiff's recollection, she has been injured
on the job on several occasions. Most recently, in September 2017, a cart fell on
her right hand, causing injury to her thumb area. A few weeks before that
injury, in late August or early September 2017, plaintiff was burned by a heat-

set door on her left forearm. These injuries occurred at YKK AP America, Inc,

at 4234 Ocmulgee E Blvd, Macon, GA 31217.

Please state the name and address of each and every employer you have
had over the past 15 years, including your present employer, if any.

RESPONSE: Plaintiff has had several jobs as a temporary employee
through Adecco, a temporary employment agency plaintiff has used for the last
eight or nine years, Plaintiff believes she worked at the following locations,
though she cannot say with positivity that the dates are correct:

° YKK, 4234 Ocmulgee E Blvd, Macon, GA 31217, 2015-present;

. Navicent Health, 777 Hemlock St, Macon, GA 31201, 2015-2016;

° Fed Ex, Macon, GA, 2014-2015
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. Word of Salvation Ministries, 914 2nd St, Macon, GA 31201, off and on

for the last twenty-five years.

Please state the name and address of each and every health insurer
(individual, group, HMO, etc.) which has provided health coverage to you over
the past 15 years.

RESPONSE: Please see plantiff’s BCBS card, which will be produced.

Please state the name and address of each and every automobile/ motor
vehicle insurer (State Farm, Allstate, GEICO, etc) which has provided liability
coverage to you over the past 15 years.

RESPONSE: To the best of plaintiff's recollection, she has been insured
by Liberty Mutual for over fifteen years.

Please list each and every application you have submitted for Social
Security Disability Benefits in a format similar to the following:

RESPONSE: Plaintiff has never applied for Social Security Disability

Benefits.

Please list each and every bodily injury claim ever made by you ina format

similar to the following:
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RESPONSE: Plaintiff does not believe she has ever made any such

claims, but reserves the right to amend this response,

State the name and address of each and every hospital at which you have
been examined, tested or treated [in-patient, out-patient, emergency room or
diagnostic testing] at any time during the past 15 years,

RESPONSE: Plaintiff is unable to recall a time she was treated ata

hospital in the last fifteen years.

otate the name and address of each and every pharmacy [including mail-
order pharmacies] at which you have obtained prescription medication at any
time during the past 15 years.

RESPONSE: Plaintiff is unable to recall any prescription medications she

has taken in the last fifteen years.

Have you ever at any time BEFORE the Wal-Mart incident suffered an
injury to, or experienced pain in the same part(s) of the body which you contend
you injured in the Wal-Mart incident? If your answer is in the affirmative, state
the name and address of each and every hospital, chiropractor, physical therapist
or other medical provider who examined or treated said pre-Wal-Mart injury or

condition,
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RESPONSE: Please see response to Interrogatory No. 5. Plaintiff does not
recall the name or address of the chiropractor she saw following that accident.

State the name and address of each and every chiropractor who has ever
examined or treated you BEFORE the Wal-Mart incident.

RESPONSE: Please see the preceding response, which is the only

chiropractor plaintiff was ever treated by in the past.

Tas Plaintiff ever been convicted of a crime? If so, please state the date of
each such conviction, the location of the Court where the conviction occurred, and
the crime upon which each such conviction was based.

RESPONSE: Plaintiff has never been convicted of a crime.

Fas Plaintiff been a party to another lawsuit? If your answer is in the
affirmative, give the approximate date the lawsuit was filed, the Court in which it
was filed, and the style of the case,

RESPONSE: To the best of plaintiff’s recollection, she has never been

involved in any other lawsuits,

State specifically and in reasonable detail how the occurrence happened

which is the basis of this lawsuit, and include any oral statements by Wal-Mart
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associates which you contend may constitute admissions against interest,
RESPONSE: Plaintiff states she walked to the frozen foods department
upon entering Wal-Mart. Next, she stepped to the left of the door where she
slipped on wax that was left on the floor. After she slipped, she recalls two
employees, one who she believes was waxing the floor, run over to her to try to
help her up, Further, she recalls one of those employees apologizing for leaving
the wax on the floor. Plaintiff was then brought to the front of the store and
after telling several employees that she had to return to work, they suggested
she come back later to fill out an incident report. When plaintiff returned later
that day, she remembers speaking to the woman who helped her fill out the
incident report, who told plaintiff that she had seen video recording of her fall,

told plaintiff, “if you aren’t hurting now, you will be later” and later asked

plaintiff if she wanted an ambulance.

State the name of every person known to Plaintiff who appears to be an

eyewitness to the incident as alleged in Plaintiff's Complaint.

RESPONSE: Please see the preceding response. Plaintiff is unaware of

the names of the employees.

Please state the names and addresses of all persons known to Plaintiff who

have knowledge of any relevant facts concerning the issues in this case.
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RESPONSE: In addition to the employees described in response to
Interrogatory No. 18, plaintiff states her son, Christian Givens (who resides
with his mother at 935 Juniper Lane, Macon, GA 31220), and her pastor, R.
Coretta Williams (478-475-5286), are aware of her fall and her injuries,

With regard to each statement (oral, written, recorded, court or deposition
transcript, etc.) taken from any person with knowledge relevant to this lawsuit,
please state the name of each person giving the statement, the name and address
of the person or entity taking each statement, the date each statement was taken,
anc the name and address of each person having possession, cus tody, or control

of each statement.

RESPONSE: Plaintiff is only aware of the statements described in

response to Interrogatory No. 18.

Please identify each expert expected to testify at trial, including all
subsequent treating physicians and practitioners of the healing arts; state the
subject matter the expert is expected to testify about and the substance of the facts
and opinions to which the expert is expected to testify; and give a summary of the
grounds for each opinion.

RESPONSE: Plaintiff expects to call her treating physicians to testify to

the cause and extent of her injuries. Please see laintiff’s medical records
Ff
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enclosed herein.

Describe with reasonable particularity all photographs, charts, diagrams,
videotapes, and other illustrations of any person, place, or thing involved in this
lawsuit, giving the date each was made and the name and address of the
person(s) with possession, custody, or control of each item.

RESPONSE: Plaintiff is unaware of any such photographs, but assumes

there is a store recording of the fall.

Please identify by date, author and subject matter all documents relied
upon by you to demonstrate and supports facts relevant to the issues in this
litigation.

RESPONSE: As discovery is ongoing, plaintiff has not yet identified all

such documents.

state your date of birth, marital status and full name of spouse, driver's
license number, social security number, and educational background, including
all schools, institutions, trade, or professional schools attended, the dates of
attendance of each, and the degrees, certificates, or licenses obtained at each, [If
you do not wish to include your social security number in Answers to

Interrogatories, Plaintiffs counsel may forward Plaintiff's social security number
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by letter or email.|

RESPONSE: 07/18/1969; unmarried; GA driver’s license no, 050-254-224:
xxx-xx-0590; Central High School (Detroit, MI) class of 1987; plaintiff has also
attended Crockett CUT in Detroit for her CNA license, PTC Career Institute in

Atlanta, and other programs where she received medical assistant and lab

technician certification.

REQUEST FOR PRODUCTION OF DOCUMENTS

All medical expenses or bills or drug bills incurred by you in connection
with injuries allegedly received in the occurrence giving rise to your complaint in
this civil action.

RESPONSE: Plaintiff will provide all documentation in her possession,

provided that such does not exceed the scope of permissible discovery.

All medical reports (including hospital records) prepared by any physician,
psychologist, or other practitioner of the healing arts who treated you for injuries
allegedly received in this occurrence in your possession or the possession of your
attorney.

RESPONSE: Plaintiff will provide all documentation in her possession,

provided that such does not exceed the scope of permissible discovery.
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All photos of any person, place, or thing related to this occurrence
(photocopies of such photos may be produced in lieu of the positive prints).

RESPONSE: Plaintiff currently has nothing to produce.

Any and all documents obtained from any defendant or his/her/its
employees or agents at any time following the incident referred to in your
complaint.

RESPONSE; Plaintiff currently has nothing to produce.

Any and all correspondence to you or anyone on your behalf from any
defendant or anyone on his/her /its behalf.

RESPONSE: Plaintiff currently has nothing to produce.

Any and all correspondence from you or anyone on your behalf to any
defendant or anyone on his/her/ its behalf.

RESPONSE; Plaintiff currently has nothing to produce,

Copies of any statements or recordings of any statements from any
employee of any defendant.

RESPONSE: Plaintiff currently has nothing to produce.
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Copies of any applications for benefits or proofs of loss proviced by you or
on your behalf to any insurance company and which pertains to the incident or
injuries referred to in your complaint.

RESPONSE: Plaintiff currently has nothing to produce.

Copies of any card verifying existence of any major medical insurance or
hospitalization benefits or coverage at the time of the incident referred to in your
complaint.

RESPONSE: Plaintiff will provide all documentation in her possession,
provided that such does not exceed the scope of permissible discovery.

Copies of any report by any expert retained and consulted by you with
respect to any aspect of the occurrence referred to in your complaint.

RESPONSE: Plaintiff currently has nothing to produce.

Copies of all witness statements obtained from any person about any
information related to any issue in this lawsuit, including but not limited to
liability or damages.

RESPONSE: Plaintiff currently has nothing to produce.
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Copies of any photographs, motion pictures, videotapes, plans, drawings,
blue prints, sketches, diagrams, computer simulations, or any other photographic
or demonstrative evidence or depiction concerning the subject incident or any of
the issues involved in this lawsuit including, but not limited to, the issues of
liability and damages.

RESPONSE: Plaintiff currently has nothing to produce.

Copies of all reports received from any experts, including experts who will
testify at trial, who have investigated any issue related to the subject incident and
related to this lawsuit. Also, produce all materials relied upon by each expert in
formulating his/her opinions and conclusions.

RESPONSE: Plaintiff currently has nothing to produce.

Copies of any records reflecting or referring to employment of you for the
five years preceding the accident referred to in your complaint, including but not
limited to W2 forms, 1099 forms, separation notices, income statements, et cetera.

RESPONSE: Plaintiff currently has nothing to produce,

Any and all documents in your possession regarding defendants’

employees and/or independent contractor's failure to inspect anything you
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contend should have been inspected immediately before your accident.

RESPONSE: Plaintiff currently has nothing to produce,

Any and all documents that you contend show that any defendant did not
determine that the location or instrumentality involved in plaintiffs incident (on
the date of the subject incident) was properly inspected, managed, and/or
maintained at the time of the subject incident.

RESPONSE: Plaintiff currently has nothing to produce,

Copies of all documentation of any kind received from any person or
corporation relative to inspecting, managing, and/or maintaining the
instrumentality or location where plaintiff's incident occurred on the date of the
subject incident.

RESPONSE: Plaintiff currently has nothing to produce.

Copies of any and all documents of whatever kind evidencing any
substantially similar event in the immediate area where plaintiff's claimed
incident occurred on the date of the subject incident.

RESPONSE: Plaintiff currently has nothing to produce.

Any and all reports and documents taken or prepared by plaintiff or
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anyone on behalf of plaintiff concerning the incident referred to in plaintiff's
complaint.

RESPONSE: Plaintiff currently has nothing to produce.

Any and all reports and/or statements concerning the subject incident
submitted to and/or taken by any investigator or adjuster,

RESPONSE: Plaintiff will provide all documentation in her possession,

provided that such does not exceed the scope of permissible discovery.

4

Copies of any and all photographs and/or videotapes and/or moving
pictures of plaintiff or of any defendant or his/her/ its agents, servants, or
employees at any time after the accident referred to in plaintiff's complaint.

RESPONSE: Plaintiff currently has nothing to produce,

Copies of any documents or other material which in any way relates to
plaintiff or plaintiff's representatives or family contacting or attempting to contact
any defendant and/or defendant's representatives after the incident up to and
including the date of trial,

RESPONSE: Plaintiff currently has nothing to produce.

Copies of any and all documents which support or otherwise pertain to any
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of your responses to defendant's first interrogatories, identifying which
interrogatory response cach document supports or otherwise pertains to,

RESPONSE: Plaintiff currently has nothing to produce.

All documents, records, reports, memoranda, and/or correspondence
referring in any way to injuries to persons who claimed to have experienced a
substantially similar incident to that involving the plaintiff at the same store
within three years prior to plaintiff's incident.

RESPONSE: Plaintiff currently has nothing to produce.

The curriculum vitae of all experts who are expected to testify on behalf of
the plaintiff(s).
RESPONSE: Plaintiff currently has nothing to produce.

*

The written or oral reports of experts who are expected to testify on behalf
of the plaintiff(s).

RESPONSE: Plaintiff currently has nothing to produce.

All documents, records, correspondence, reports, and/or memoranda
referring in any way to the inspecting, managing, and/or maintaining the

instrumentality or location referred to in the complaint,
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RESPONSE: Plaintiff currently has nothing to produce.
Floor plan, aerial photographs, and/or other drawings or materials
demonstrating an overhead view of the instrumental ty or location described in

the complaint.

RESPONSE: Plaintiff currently has nothing to produce.

Documents and/or items that describe, list and /or demonstrate:

(a) the area where plaintiff's incident occurred: and

(b) the lighting and/or lack of ligh ting of the area where plaintiff's

incident occurred,

RESPONSE: Plaintiff will provide all documentation in her possession,
provided that such does not exceed the scope of permissible discovery.

Copies of any photographs, still or motion pictures, and/or videotapes of
the incident scene, taken on or after the date of the subject incident.

RESPONSE: Plaintiff currently has nothing to produce.

Documents you receive in response to requests to non-parties for the
production of documents.

RESPONSE: Plaintiff currently has nothing to produce.
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All safety notices, warnings, bulletins, or other similar documents you
contend should have been displayed or distributed by defendant(s) at the location
or instrumentality where you contend your accident took place.

RESPONSE: Plaintiff currently has nothing to produce.

Any documents containing measurements, surveys, or calculations made
by you or anyone on your behalf or your lawyer's behalf of the instrumentality or
location referred to in your complaint.

RESPONSE: Plaintiff currently has nothing to produce.

Any industry or trade standard you contend applies to the location,
instrumentality, or claims referred to in your lawsuil.

RESPONSE: Plaintiff currently has nothing to produce,

Any records of cell phone calls by you on the day of the incident referred to
in your complaint.

RESPONSE: Plaintiff currently has nothing to produce.

Any records of questionnaires, questions, or other papers provided to any

focus groups, jury research firms, or nhon-parties (other than your lawyer)
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concerning the facts or damages claimed by you.

RESPONSE: Plaintiff currently has nothing to produce.

Any records of vehicle, bus, train, or airline travel by you since the date of
the incident alleged in your complaint.

RESPONSE: Plaintiff currently has nothing to produce.

Any photographs or videos exhibiting or documents su pporting
engagement or participation by you in any hobbies or recreation for (a) the five
years before and (b) the entire time after the accident referred to in your
complaint.

RESPONSE: Plaintiff currently has nothing to produce.

Any histories or documents written or signed by you concerning any
medical, psychological, or psychiatric testing for (a) the ten years before and
(b) the entire time after the accident referred to in your complaint.

RESPONSE: Plaintiff currently has nothing to produce.

Any documents referring to or showing any hazardous condition in the
area of your claimed accident.

RESPONSE: Plaintiff currently has nothing to produce.
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Any documents referring to or showing any design and/or construction

defect in the area of your claimed accident.

RESPONSE: Plaintiff currently has nothing to produce.

Any documents referring to, showing, or demonstrating why you could not
have seen and avoided any claimed hazard immediately before your claimed fall,

RESPONSE: Plaintiff currently has nothing to produce.

For each Facebook account and/or profile maintained by you, please
proctuce your Facebook profile and account data. (In order to create the zip file
that contains the profile, please sign on to your Facebook account and click on the
"account button" at the top right side of your Facebook page. Click on "account
settings" on the toolbar that opens wp. On this newly opened screen, click on the
“learn more" button by the "download your information" section. Click on the
download button. Facebook will then compile the zip file and email a notification
to you with a link in the email that will allow you to download the Facebook file.
This process takes between 30-90 minutes depending on the size of the profile.
Please save this profile to a USB flash drive and provide it as your response.
Reasonable expenses for this drive will be paid).

RESPONSE: Plaintiff currently has nothing to produce.
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Please provide all photographs on your Facebook profile(s), the
photographs you are in on your Facebook profile. (To do this, you must open
each picture individually, right click on the picture and save it on the same USB
drive). For all photographs that are not produced by Plaintiff, please create a
privilege log describing said photographs.

RESPONSE: Plaintiff currently has nothing to produce.

Please provide archives for all Twitter accounts maintained by you or
registered to you. (To get your archive, go to the Settings area and look for the
new "Your Twitter archive" feature, A link will be emailed to you that leads to a
page within Twitter where you can complete the download. After clicking
download, a ZIP file will be downloaded. When you open that file, you will see a
"readme" file with instructions. Please provide this ZIP file),

RESPONSE: Plaintiff currently has nothing to preduce.

[SIGNATURE ON FOLLOWING PAGE]
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Lh.
CAL
This day of September, 2017.

DOZIER LAW FIRM, LLC
327 Third Street

P.O. Box 13

Macon, Georgia 31202-0013
(478) 742-844 |

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David Dozier Qo
GA Bar No. 228898
Attorney for Plaintiff
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IN THE STATE COURT OF BIBB COUN’ ahs EORGLE

STATE Ol GEORGIA BILE
DOLTSER 26 PM 2 22

CYNTHIA GIVENS, Civil Action, B ‘ile Nee 5 CLERK
Plaintiff, Coombh 6 vy kha
v.

WAL-MART STORES EAST, LP
AND JOHN DOES NOS. 1-10,

Defendants,

/

CERTIFICATE OF SERVICE

 

This is to certify that | have this day served a true and correct copy of the PLAINTIFF'S
RESPONSE TO DEFENDANT'S REQUEST FOR ADMISSION. FIRST INTERROGATORIES.

AND REQUESTS FOR PRODUCTION OF DOCUMENTS upon the opposing attorney of record

_ by depositing same in the U. S. Mail ina properly addressed envelope with sufficient postage

 

affixed thereto and addressed as follows:

Howard M. Lessinger
McLAIN & MERRITT, P.C.
3445 Peachtree Road, N.E.
Suite 500
Atlanta, GA 30326

“yf
This LG, by of September, 2017.

David foal ro ly
GA Bar No. 228898
Attorney for Plaintiff

       

DOZIER LAW FIRM, LIC
327 Third Street. P.O. Box 13
Macon. Georgia 31202-0013
(478) 742-844]
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